            Case 4:98-cr-40124-JPG                      Document 269 Filed 02/22/07                         Page 1 of 4          Page ID
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%A0 24SD        (Rev. 12/03) Judgment in a Criminal Case for Revacatlons
                Sheet I




                        SOUTHERN                                      District of                                   ILLINOIS

         UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               v.                                            (For Revocation of Probation or Supervised Release)
                    RlCKY SHANNON
                                                                             Case Number: 4:98CR40124-002
                                                                             USM Number: 04608-025


THE DEFENDANT:
@f admitted guilt to violation of condition(s) a s alleged in petition
     was found in violation of condition(s)                                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                  Nature of Violation                                                                 Violation Ended
 Statutow                          The defendant admitted to the use of cocaine                                        112212007




       The defendant is sentenced as provided in pages 2 through                    4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                        and is discharged as to such violation(s) condition.

          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
                                                          7
change of name, residence, or mailing address unti all fines, restitution, costs, and special assessments imposed by this judgment are
fully pald. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economlc circumstances.

Defendant's Soc. Sec. No.:     XXX-XX-XXXX
Defendant's Date of Birth:     612911971


Defendant's Residence Address:

Carbondale, I1
                                                                              J . Phil Gilbert                                 District Judge
                                                                             Name   yJu%d                                   Title of Judge




Defendant's Mailing Address:
                                                                             Date
                                                                                                  /
Carbondale. IL
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  A 0 Z45D    (Rev. 12103 Judgment in a Criminal Care for Revocations
              Sheet 2- Imprisonment

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  DEFENDANT: RlCKY SHANNON
  CASE NUMBER: 4:98CR40124-002


                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term o f :
18 months




       B( The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in the Intensive Drug Treatment Program



           The defendant is remanded to the custody of the United States Marshal

       @fThe defendant shall surrender to the United States Marshal for this district:
         @ at 1O:OO                       @ a.m.         p.m. on       2/22/2007
                as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
               as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
  I have executed this judgment as follows:




          Defendant delivered on                                                          to

  at                                                    with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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A 0 245D     (Rev. 12103)Judgment in a Criminal Case for Revocations
             Sheet 3 -Supervised Release


DEFENDANT: RlCKY SHANNON                                                                                Judgment-Page   3of                 4
CASE NUMBER: 4:98CR40124-002
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
12 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfull possess a controlled suhstance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suxmit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future suhstance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as diirected by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this 'udgment imposes a tine or restitution, it is be a condition of supervised rclcase that the defendant pay in accordance with
   Schcdule ofl~ayn~ents sheet of t h ~ judgrncnt
                                        s
          The defendant must comply with the standardconditionsthat have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excesslve use of alcohol and shall not purchase. possess, use, djstrihutc. or adni~nistcrany
        controlled substance or any paraphernal~arelated to any controlled .;ubstanccs, except as prescr~bedby a ph) stclan;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate,with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permlsslon to do so by the probat~onoff~ceq
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain vlew of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the robation officer, the defendant shall notify ,third parties of risks that may he occasioned by the defendant's criminal
        record or           history or character~stlcsand shall permlt the prohat~onofficer to make such not~ficatlonsand to confirm the
        defendant s compliance with such notification requirement.
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A 0 24SD   (Rev. 12/03) Judgment in a Criminal Case for Revocations
           Sheet 3C - Supervised Release

DEFENDANT: RlCKY SHANNON
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                                         SPECIAL CONDITIONS OF SUPERVISION

 The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.
